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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     LEXINGTON

 UNITED STATES OF AMERICA            )
                                     )
             v.                      )
                                     )                Criminal No. 5:19-CR-206-KKC
 ROBERT MCCUNE, et al.,              )
                                     )
             Defendants.             )
 ____________________________________)

              DEFENDANT CLINTON PORTIS’S MOTION TO CONDUCT
            THE AUGUST 4, 2020 ARRAIGNMENT BY VIDEO CONFERENCE

        Defendant Clinton Portis (“Mr. Portis”), by and through undersigned counsel, hereby

 moves the Court for an Order converting the in-person arraignment currently scheduled for August

 4, 2020 at 10:30 a.m. into an arraignment conducted by video conference. As grounds for the

 Motion, Mr. Portis respectfully states as follows:

        On December 6, 2019, Mr. Portis was indicted on charges of Conspiracy to Commit Wire

 Fraud and Health Care Fraud (Count 1), Wire Fraud (Count 7), and Health Care Fraud (Count 17).

 [See Indictment, D.E. # 1, Page ID ## 1 – 20.] On January 2, 2020, Mr. Portis appeared for his

 initial appearance and arraignment and pleaded not guilty to these charges. [See Minute Entry

 Order, D.E. # 53, Page ID # 186.] The grand jury returned a superseding indictment against Mr.

 Portis and other defendants on July 24, 2020. [See Superseding Indictment D.E. # 156, Page ID

 ## 767 – 793.] Later that day, the United States moved to arraign Mr. Portis on the superseding

 indictment. [See Motion for Arraignment, D.E. # 157, Page ID # 822.] This Court granted the

 Government’s motion and scheduled Mr. Portis’s arraignment for August 4, 2020 at 10:30 a.m.

 [See Order Setting Arraignment, D.E. # 159, Page ID # 827.]
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        Mr. Portis resides primarily in South Carolina. Absent relief from this Court, Mr. Portis

 will be required to travel (likely by airline) to Lexington, Kentucky for the August 4, 2020

 arraignment. In light of the current COVID-19 pandemic, including recent surges in reported

 infection rates in both South Carolina and Kentucky, Mr. Portis respectfully requests that his

 arraignment on the superseding indictment be conducted by video conference. Such relief would

 avoid risk of infection to both Mr. Portis and those who would otherwise appear for Mr. Portis’s

 arraignment in Lexington, Kentucky. This request is consistent with district’s July 24, 2020

 General Order, which authorizes the use of video conferencing for all events listed in Section

 15002(b) of The CARES Act, Pub. L. No. 116-136, 134 Stat. 281, including arraignments, and

 this Court has already arraigned other defendants via video conference. [See General Order No.

 20-14.] Mr. Portis waives his right to appear in person and hereby consents to appearing by video

 conference for the arraignment, should the Court grant this Motion. Moreover, conducting his

 arraignment via video conference would more easily permit the undersigned’s co-counsel, Andrew

 George, to appear from his offices in Washington, D.C.

        Finally, undersigned counsel for Mr. Portis has conferred with the United States regarding

 this Motion. The United States has advised it has no objection to Mr. Portis being arraigned on

 the superseding indictment via video conference. Accordingly, Mr. Portis respectfully moves the

 Court to enter an order converting the August 4, 2020 from an in-person arraignment to an

 arraignment conducted by video conference.
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                                               Respectfully submitted,

                                               Adam C. Reeves
                                               Stoll Keenon Ogden PLLC
                                               300 W. Vine Street, Ste. 2100
                                               Lexington, KY 40507
                                               adam.reeves@skofirm.com

                                               /s/ Adam C. Reeves
                                               Counsel for Defendant Clinton Portis


                                  CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing was filed electronically using the CM/ECF
 system on July 29, 2020, which shall provide electronic service to all parties and counsel of record.


                                               /s/ Adam C. Reeves
                                               Counsel for Defendant Clinton Portis
